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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR393
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )              TENTATIVE FINDINGS
                                             )
TINA SPEAKE,                                 )
                                             )
              Defendant.                     )


       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the parties’ objections thereto (Filing Nos. 48, 49). See Order on Sentencing Schedule,

¶ 6. The Court advises the parties that these tentative findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The parties have objected to the quantity of controlled substance attributable to the

Defendant in ¶ 17 and the base offense level. The plea agreement requires a base

offense level of 28 based on a quantity of at least 200 but less than 350 grams of

methamphetamine. The Court’s tentative findings are that, absent unusual circumstances,

the plea agreement should be upheld and the base offense level should be calculated as

level 28.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 48) are granted;

       2.     The government’s Objections to the Presentence Investigation Report (Filing

No. 49) are granted;
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       3.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 4 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 24th day of March, 2006.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




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